Case 1:21-cv-03354-BAH Document 101-4 Filed 09/29/23 Page 1 of 2




            EXHIBIT 3
9/28/23, 10:13 AM     Case
                       Rudy 1:21-cv-03354-BAH
                            W. Giuliani on X: "Friends of the Document        101-4
                                                              Mayor set up a fund. MoniesFiled
                                                                                          raised 09/29/23        PageAs2you
                                                                                                 goes to legal defense.  ofknow
                                                                                                                            2 the radical left wa…

          Search                                           Post

                                                           Rudy W. Giuliani                                                    Subscribe
           Home                                            @RudyGiuliani

                                                 Friends of the Mayor set up a fund. Monies raised goes to legal defense. As
           Explore                               you know the radical left want to silence the Mayor because he is getting
                                                 information to you!
           Notifications                         Please send checks to
                                                 Rudy Giuliani Defense Fund
                                                 PO Box 309 3300 S Dixie Hwy West
           Messages
                                                 Palm Beach, FL. 33405

           Lists                                       The Official Giuliani Fan Club @RudyCommon · Aug 21
                                                   Please help Rudy!

           Bookmarks                               rudygiulianifreedomfund.com


           Communities

           Premium

           Profile

           More


                    Post
                                                                                                           0:05 / 0:41


                                                     Last edited 12:04 PM · Aug 22, 2023 · 75K Views


                                                       4                       535                 1,146                 19



                                                              Who can reply?
                                                              People @RudyGiuliani follows or mentioned can reply



                                                           Senior Boobies       @SeniorBoobies · Aug 22
                                                           Love you, Rudy!

                                                                                                      9                       1,037


                                                           cybertrek @TrekCyber3 · Aug 23
                                                           We are praying for you 8/23/2023 American Hero.

                                                                                                                              115




https://twitter.com/RudyGiuliani/status/1694017818201575468
